Appeal: 12-145    Document: 4     Date Filed: 03/21/2012   Page: 1 of 1


                                                                     FILED: March 21, 2012

                              UNITED STATES COURT OF APPEALS
                                  FOR THE FOURTH CIRCUIT

                                         ___________________

                                               No. 12-145
                                         (4:96-cr-00053-MR-10)
                                         ___________________


        In re: CEDRIC HUSKEY

                       Movant

                                         ___________________

                                              ORDER
                                         ___________________

                 Movant has filed a motion under 28 U.S.C. § 2244 for an order authorizing

        the district court to consider a second or successive application for relief under 28

        U.S.C. § 2255.

                 The court denies the motion.

                 Entered at the direction of Senior Judge Hamilton, with the concurrence of

        Judge Davis and Judge Keenan.

                                                 For the Court

                                                 /s/ Patricia S. Connor, Clerk




                 Case 4:96-cr-00053-MR     Document 675     Filed 03/21/12   Page 1 of 1
